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Case 1:18-mc-00720 Document9 Filed 02/05/19 Page 1 of 1

 

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

 

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Felicia C. Cannon, Clerk of Court
Catherine Stavlas, Chief Deputy
Reply to Northern Division Address Elizabeth B. Snowden, Chief Deputy
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January 18, 2019 c pe 3 3
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“TT: 'D.- \ Gee OE “et
Phillip O’Briant Q an = rs
get rt gat a :* _
433 Drew Street “a a
Baltimore, Maryland 21224 “ »
Dear Mr. O’Briant:

Pursuant to the pre-filin
Md.), we are returning

8 injunction issued by this Court in In Re O'Briant, Misc. No. 18-720
the enclosed pleadings to you.

(D.

Approved by: PUL D. 2.05- this __ day of

Buy
Encl.

jonseeanay 2019.

 

Northern Division * 4228 US, Courthouse + 101 W. Lombar
Southern Division « 200 U.S. Courthouse +

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